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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                         )
LILIAN PAHOLA CALDERON JIMENEZ, )
and LUIS GORDILLO, et al.,               )
                                         )
Individually and on behalf of all others )
similarly situated,                      )
                                         )           No. 1:18-cv-10225-MLW
                Plaintiffs-Petitioners,  )
                                         )
        v.                               )
                                         )
KEVIN K. McALEENAN, et al.,              )
                                         )
                Defendants-Respondents.  )
                                         )

          RESPONDENTS’ SUPPLEMENT TO JUNE 5, 2019 STATUS REPORT

        On May 17, 2019, this Court ordered the parties to confer and report on: (1) whether they

have agreed to settle this case or to request jointly that it be stayed; (2) whether the parties request

more time to confer; (3) whether notice should be directed to class members under Federal Rule

of Civil Procedure 23(c)(2)(A) and, if so, how; and (4) the nature of the limited discovery to be

conducted by July 31, 2019. ECF No. 253. The parties are still conferring about a proposed

settlement framework. Additionally, the parties have not yet reached an agreement to stay this

case. The parties report separately regarding class notice and the nature of the limited discovery to

be conducted by July 31, 2019.

        Given the lengths of the parties’ inputs, which were exchanged shortly before the filing

deadline, the parties separately filed their status reports. The parties also requested 48 hours to

address arguments raised in each report, or as otherwise directed by the Court. This memo

supplements Respondents’ June 5, 2019 submission in order to briefly address a few issues raised

by Petitioners that merit clarification.
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       At the outset, Respondents agree with Petitioners that the parties have a fundamental

disagreement on the scope of the limited discovery currently directed by this Court to occur over

the next 60 days. Despite the Court’s current focus on how ICE Boston’s current practice informs

the Court’s exercise of its discretion to grant declaratory relief, Petitioners continue to press to

expand the limited discovery envisioned by the Court. Petitioners also continue to seek expansion

of the scope of discovery beyond the boundaries of their Amended Complaint. ECF No. 27. Rather

than simply allow Respondents to state their own positions on discovery in the June 5, 2019 status

report, Petitioners took it upon themselves to create overly simplified charts embodying their

summary of what they perceived Respondents’ positions to be. Respondents take this opportunity

now to address Petitioners’ assertions:

       1.      Reporting. With regard to reporting in lieu of class notice, Petitioners allege that

Respondents refuse to provide a monthly report on class-members I-246 applications for stays of

removal. What Petitioners do not note in their chart is that Respondents did agree to include this

information in the monthly detention report, and that the monthly check-in report includes the

instructions given to each alien. Petitioners also abjectly fail to note that Respondents agreed to

alert Petitioners via alternative means in any instance that someone might be removed before they

would first appear on either report. In other words, through this reporting scheme, Petitioners will

know all they need to know. Petitioners also blithely skip past the fact that this case is not about

whether or not a stay of removal is granted – it is about whether or not ICE Boston considers an

alien’s eligibility for a provisional waiver when deciding whether to detain or remove that alien.

Indeed, in this Court’s oral decision on August 23, 2018 (recued to writing by the Court on

September 21, 2018), this Court went to significant lengths to carefully explain the limits of the

Court’s analysis, stating specifically “this court's ruling on petitioners' motion to dismiss does not



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exempt all aliens with final orders of removal who are seeking provisional waivers from being

removed.” ECF No. 155, 159 at 41. In the exercise of its discretion, ICE Boston may choose not

to renew a stay of removal for any number of reasons – all of which are irrelevant if ICE Boston

never acts to detain or remove the alien. Indeed, in some instances, the denial of a stay of removal

might serve as a reasonable encouragement to ensure an otherwise dilatory alien to pursue the

provisional waiver with due diligence. In short, ICE Boston’s decisions on stays of removal matter

not – ICE Boston’s decisions to detain or remove do – and those decisions are more than

adequately covered by the monthly reports ICE Boston has already agreed to provide.1

       2.      Document Production. With regard to Petitioners’ discovery demands, Petitioners

attempt to expand this case beyond the scope of their amended complaint, and ignore the interplay

of what ICE Boston has agreed to provide with its impact upon Petitioners’ other requests. For

example, with regard to Petitioners’ request number 5, Petitioners state that Respondents refuse to

provide reporting in USCIS standalone I-130 interviews. However, Petitioners ignore the fact that

their complaint does not include any allegation that USCIS has been improperly processing I-130

applications. Indeed, USCIS has been adjudicating and approving I-130 applications as this case

has unfolded from the very beginning.2 What USCIS District 01 employees said to other USCIS

District 01 employees, but not to ICE Boston, is not relevant to any claim in Petitioners Amended

Complaint. What’s more, any responsive communications between USCIS District 01and ICE

Boston will necessarily be included in the documents ICE Boston has agreed to produce. Similarly,




1
  Respondents note that nothing prevents Petitioners from aggregating these reports, as they seem
to desire. See ECF No. 261 at 7.
2
  Petitioners continue to make wildly unsupported allegations that USCIS District 01 is delaying
the adjudication of I-130 petitions in order to circumvent the provisional waiver process.
Respondents deny this, and note here Petitioners never made any such claim in their complaint.
As such, it is beyond the scope of discovery under Fed. R. Civ. P 26(b)(1).
                                                 3
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Petitioners demand internal USCIS communications about “the potential or actual detention,

arrest, or removal of any class member,” ignoring the fact that USCIS has no authority whatsoever

on these decisions, and makes none of them. Again, to the extent that ICE Boston communicated

an intention to arrest an alien at a USCIS office, that communication is necessarily bound up in

the production ICE Boston has already agreed to provide.

       3.      Deposition and production of materials from Christopher Cronen. Petitioners

attempt to expand the scope of the limited discovery currently envisioned by the Court, and attempt

to expand the scope of this case beyond the limits of their complaint against ICE Boston.

Petitioners do so by demanding documents “created by” Christopher Cronen from January, 25,

2017 until present. Petitioners again ignore the focus of the Court in granting limited discovery –

which is what ICE Boston has been doing since this Court ruled on August 23, 2018. Petitioners

also incorrectly assert that Respondents have not agreed to provide any documents or

communications related to Mr. Cronen at all. Obviously, if Mr. Cronen sent any directions or

communications to ICE Boston, those documents and communications would necessarily be

included in the materials agreed to be provided by ICE Boston. Any other communications Mr.

Cronen may have had are simply not within the scope of discovery pertaining to Petitioners’

complaint.

       Respondents respectfully submit that this Court deny Petitioners’ attempts to expand the

scope of discovery beyond the bounds of what this Court, in the exercise of its discretion, believes

to be important. Respondents request that the Court direct the parties to conduct only the limited

discovery outlined in Respondents June 5, 2018 status report.




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                                CERTIFICATE OF SERVICE

        I, William H. Weiland, Trial Attorney, hereby certify that this document filed through the
ECF system will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.

                                                     /s/ William H. Weiland
                                                     William H. Weiland
Dated: June 7, 2019                                  Trial Attorney




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